                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


 DEANNA M. ROUSSEAU,
                                                            CIVIL COMPLAINT
              Plaintiff,

 v.                                                       CASE NO. 2:19-cv-00994

 MIDWEST FIDELITY SERVICES, LLC,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                   COMPLAINT FOR RELIEF

        NOW comes DEANNA M. ROUSSEAU (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MIDWEST FIDELITY

SERVICES, LLC (“Defendant”) as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Wisconsin Consumer Act (“WCA”) under Wis. Stat. §427

et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 28 U.S.C. §§1331 and 1337, as the action arises under

the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant to

28 U.S.C. §1367.




                                                  1

            Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 1 of 10 Document 1
      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Eastern District of Wisconsin and a substantial portion of the events or omissions giving rise

to the claims occurred within the Eastern District of Wisconsin.

                                                    PARTIES

      4. Plaintiff is a 54 year-old natural person residing in Milwaukee, Wisconsin, which lies

within the Eastern District of Wisconsin.

      5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      6. Plaintiff is a “consumer” as defined by §1692a(3) of the FDCPA.

      7. Plaintiff is a “customer” as defined by §421.301(17) of the WCA.

      8. Defendant is a third-party debt collection agency, and according to its website, “We

provide top-of-the-line collection services with an emphasis on professionalism in the way we

handle our clients’ collection claims.”1 Defendant is incorporated in Kansas and its principal place

of business is located at 103 South Main Street, Ottawa, Kansas 66067. Defendant regularly

collects upon consumers located in Wisconsin. Defendant’s registered agent in Wisconsin is

Corporation Service Company, 8040 Excelsior Drive, Suite 400, Madison, Wisconsin 53717,

      9. Defendant is a “debt collector” and “creditor” as defined by §427.103(3) and §421.301(16)

of the WCA, respectively, because it regularly engages in consumer credit transactions uses the

mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      10. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA , because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

Defendant is also a member of ACA International, an association of credit and collection

professionals.2


1
    http://midwestfidelity.com/about-us/
2
    http://www.acainternational.org/search#memberdirectory

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             Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 2 of 10 Document 1
    11. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

    12. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    13. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.


                             FACTS SUPPORTING CAUSES OF ACTION

    14. Several months ago Plaintiff obtained a personal loan from A-1 Premium Acceptance,

Inc. d/b/a King of Kash (“King of Kash”) which she used to fund the purchase of household goods

and services.

    15. In approximately February 2019, Plaintiff allegedly defaulted on her payments to King of

Kash creating an outstanding balance of $2,855.25 (“subject consumer debt”).

    16. King of Kash turned the collection of the subject consumer debt over to Defendant after

Plaintiff allegedly defaulted.

    17. Starting in approximately June 2019 Plaintiff began received systematic collection calls

from Defendant to her cellular phone, (414) XXX-6782.

    18. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 6782. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

    19. The phone number that Defendant most often uses to contact Plaintiff is (414) 240-4021,

but upon belief, it has used other phone numbers as well.

    20. The phone number ending in 4021 is regularly utilized by Defendant during its debt

collection activity.

                                                  3

          Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 3 of 10 Document 1
    21. When Plaintiff answers calls from Defendant she experiences a brief pause, lasting

approximately three to five seconds in length, before a live representative begins to speak.

    22. Upon speaking with Defendant, Plaintiff was informed that it was seeking to collect upon

the subject consumer debt

    23. Plaintiff promptly advised Defendant that she did not wish to receive calls from it and only

communicate with her in writing.

    24. Despite her advisement, Defendant has continued to place calls to her cellular phone

through the filing of this action. Plaintiff has received approximately 10 calls from Defendant

since telling it to stop.

    25. In addition to calling Plaintiff’s cellular phone, Defendant has also attempted to contact

members of her family as well as her place of employment despite having contact with Plaitniff.

    26. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenditure of resources.

    27. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    28. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the calls,

increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.


            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

    29. Plaintiff repeats and realleges paragraphs 1 through 28 as though fully set forth herein.

        a. Violations of FDCPA §1692b & c(b)

                                                 4

           Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 4 of 10 Document 1
   30. The FDCPA, pursuant to 15 U.S.C. §1692b, prohibits a debt collector from

“communicating with any person other than the consumer for the purpose of acquiring location

information about the consumer,” and under §1692b(3), “shall not communicate with any such

person more than once unless requested to do so by such person or unless the debt collector

reasonably believes that the earlier response of such person is erroneous or incomplete and that

such person now has correct or complete location information.” Furthermore, under §1692c(b),

“without the prior consent of the consumer given directly to the debt collector…a debt collector

may not communicate, in connection with the collection of any debt, with any person other than

the consumer, his attorney, a consumer reporting agency…the attorney of the creditor, or the

attorney of the debt collector.”

   31. Defendant violated §1692b, b(3), and c(b) by contacting Plaintiff’s family members and

place of employment during its debt collection activity. Defendant directly communicated with

Plaintiff and had no need to for further location information. Defendant used the pressure point of

third-party contacts in an attempt to coerce Plaintiff into paying the subject consumer debt.

       b. Violations of FDCPA §1692c(a)(1) and §1692d

   32. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

   33. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. This repeated behavior of systematically calling Plaintiff’s cellular phone

afters he demanded that it only contact her in writing was harassing to Plaintiff.



                                                 5

          Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 5 of 10 Document 1
   34. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing.

         c. Violations of the FDCPA § 1692e

   41. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   42. In addition, this section enumerates specific violations, such as:

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   43. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the alleged debt. Despite being told to stop calling, Defendant continued to call

Plaintiff numerous times, through the present. Instead of stopping this behavior, Defendant

continued to systematically place calls to Plaintiff’s cellular phone in a deceptive attempt to force

her to answer its calls. Through its conduct, Defendant misleadingly represented to Plaintiff that it

had the legal ability to contact her via an automated system when it did not have consent to do so.

   44. Defendant systematically “spoofed” the phone number it was calling from to appear as if

it was local to Plaintiff. Despite the calls originating from Kansas, Defendant purposefully used

a phone number local to Plaintiff in order to coerce her into answering its unwanted calls.

         d. Violations of FDCPA § 1692f

   44. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   45. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff even after she notified it to stop contacting her. Attempting

to coerce Plaintiff into payment by placing voluminous phone calls after being notified to stop

                                                  6

          Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 6 of 10 Document 1
calling is unfair and unconscionable behavior. These means employed by Defendant only served

to worry and confuse Plaintiff.

   46. As pled in paragraphs 26 through 28, Plaintiff has been harmed and suffered damages as

a result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff DEANNA M. ROUSSEAU, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3);

   e. Enjoining Defendant from further contacting Plaintiff; and

   f. Awarding any other relief as this Honorable Court deems just and appropriate.



          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   47. Plaintiff repeats and realleges paragraphs 1 through 46 as though fully set forth herein.

   48. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”




                                                7

          Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 7 of 10 Document 1
   49. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The brief pause, lasting approximately three to five seconds in length,

that Plaintiff experiences before being connected with one of Defendant’s live representatives is

instructive that an ATDS is being utilized to generate the phone calls. Similarly, the nature and

frequency of Defendant’s contacts points to the involvement of an ATDS.

   50. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent Plaintiff may have given to be contacted by Defendant

using an ATDS was explicitly revoked upon her demands to cease contact.

   51. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   52. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C). Defendant received prompts to cease calling, but it

defied those demands and continued to harass Plaintiff.

   WHEREFORE, Plaintiff DEANNA M. ROUSSEAU, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.



                                                8

          Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 8 of 10 Document 1
                 COUNT III – VIOLATIONS OF THE WISCONSIN CONSUMER ACT

   53. Plaintiff restates and realleges paragraphs 1 through 52 as though fully set forth herein.

   54. The WCA states:

                “In attempting to collect an alleged debt arising from a consumer
                credit transaction or other consumer transaction…a debt collector
                may not…engage in other conduct which can reasonably be
                expected to threaten or harass the customer or a person related to the
                customer.” Wis. Stat. §427.104(1)(h)

   55. Defendant violated §427.104(1)(h) by engaging in harassing conduct in contacting

Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means of an ATDS

after he notified it to stop calling her. Defendant ignored Plaintiff’s demands and continued to

systematically place calls to her cellular phone without consent. Following its characteristic

behavior in placing voluminous calls to consumers, Defendant engaged in harassing behavior by

contacting third-parties, willfully done with the hope that Plaintiff would be compelled to make

payment.

   56. The WCA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   57. The WCA further states that “in attempting to collect an alleged debt arising from a

consumer credit transaction…a debt collector may not:”

                “Claim, or attempt or threaten to enforce a right with knowledge or
                reason to know that the right does not exist.”           Wis. Stat.
                §427.104(1)(j)

   58. Defendant violated §427.104(1)(j) by continuing to place calls to Plaintiff’s cellular phone

after he told it to stop calling. Through its conduct, Defendant misleadingly represented to Plaintiff

that it had the legal ability to contact her via an automated system when it no longer had consent

to do so.



                                                  9

            Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 9 of 10 Document 1
   59. As pled in paragraphs 26 through 28, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful practices. As such, Plaintiff is entitled to relief pursuant to §427.105.

   60. Defendant’s conduct was outrageous, willful and wanton, and showed a reckless disregard

for the rights of Plaintiff. Defendant acted in defiance of Plaintiff’s prompts. Plaintiff demanded

that Defendant stop contacting her, but yet, he was still bombarded with collection phone calls

from Defendant. Upon information and belief, Defendant regularly engages in the above described

behavior against consumers in Wisconsin and for public policy reasons should be penalized.

   WHEREFORE, Plaintiff DEANNA M. ROUSSEAU, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to §427.105, in an amount to be determined at
      trial, for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees pursuant to §425.308(1)-(2);

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: July 12, 2019                                 Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                  s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                      Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                                 Counsel for Plaintiff
Sulaiman Law Group, Ltd.                              Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                   2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                               Lombard, Illinois 60148
(630) 568-3056 (phone)                                (630) 581-5858 (phone)
(630) 575-8188 (fax)                                  (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                              thatz@sulaimanlaw.com




                                                10

         Case 2:19-cv-00994-DEJ Filed 07/12/19 Page 10 of 10 Document 1
